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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

ALVIN AVON BRAZIEL, JR.,

                   Petitioner,

            VS.                                Cause No. 3:09-CV-1591-M

RICK THALER,                                   Death Penalty Case
Director, Texas Department of Criminal
Justice, Institutional Division,

            Respondent

                  PETITION FOR WRIT OF HABEAS CORPUS

      COMES NOW, ALVIN AVON BRAZIEL, JR. Petitioner in the above

captioned cause and pursuant to 28 U.S.C. § 2254 submits to this court his Petition

for Habeas Corpus as follows:

                           PROCEDURAL HISTORY

      Mr. Braziel was convicted of capital murder in the 282nd District Court of

Dallas County, Texas, for the murder of Douglas White. The trial court accepted

the jury’s answers to the two special issues mandated by CCP Art. 37.071 and

sentenced Braziel to death on July 26, 2001.

      On October 1, 2003 the Texas Court of Criminal Appeals issued an

unpublished opinion affirming Mr. Braziel’s conviction and sentence.

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      On July 3, 2003, Braziel filed his State Application for Writ of Habeas

Corpus. On November 26, 2003 the State answered and on May 12, 2009, the trial

court approved Findings of Fact and Conclusions of Law and denied relief.

      On August 19, 2009 , the Texas Court of Criminal Appeals entered an order

adopting the trial court’s findings and denying Petitioner’s application for writ of

habeas corpus.

      The undersigned were appointed to represent Braziel to prosecute this

petition on September 29, 2009.

               STATEMENT OF FACTS - GUILT/INNOCENCE

Commission of the Offense

      On September 21, 1993, Lora White was at home waiting for her husband,

Douglas White, to return. The two had been married ten days earlier. After eating

dinner, the two decided to go for a walk. They decided to go to Eastfield College

for their walk. They arrived at Eastfield College between 8:45 and 9:15 p.m. (RR

vol. 30, p. 31-36.)

      While walking on the walking trail, an individual approached from some

nearby bushes. Lora White identified Petitioner in court as that individual. (RR

vol. 30, pp. 41-43.) She stated that Petitioner demanded money, and brandished a

handgun. The Whites told Petitioner they did not have any money on them, but

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had money in their nearby truck. They turned and started walking toward their

truck. While walking away, Lora heard Petitioner comment to her husband that he

had looked at Applicant and should not have done so. White’s husband told her to

run. Petitioner placed the gun to the back of Doug’s head, saying that if Lora ran,

he would shoot Doug.

      Petitioner then told the two to lay down. The Whites got down on their

knees and began praying. As Lora laid face down on the ground, Petitioner shot

Doug White one time. (RR vol. 30, pp.43-48.) Petitioner grabbed Doug’s arm,

pulled him up, and shot him a second time in the chest area. Petitioner then

grabbed Lora and walked her across the field away from Doug. Petitioner directed

Lora into some nearby bushes. (RR vol. 30, pp. 48-51.) While walking, Petitioner

demanded that Lora look at him. She refused. Petitioner held the gun against

Lora’s ear and she pushed it away. When she pushed the gun away, she

apparently dislodged the magazine that held the ammunition. (RR vol. 30, pp. 52-

53.) Petitioner then forced Lora to the ground and raped her. (RR vol. 30, pp. 53-

54.) Petitioner then demanded that Lora perform oral sex upon him. When she

refused, he placed the gun between her eyes, forcing her to do the act. (RR vol.

30, pp. 56-57.)

      After the assault, Lora went back to where here husband was lying, and

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found a man kneeling over him. Lora then ran to try to get help. (RR vol. 30, pp.

57-58.) Someone assisted Lora into a college building and 911 was called. A

security guard drove Lora back to the crime scene to try and locate her husband.

(RR vol. 30, pp. 60-61.) By the time she arrived, individuals were performing

CPR on David. Lora was taken by police to Parkland Hospital. (RR vol. 30, pp.

61-62.) At the hospital, her clothes were collected by police, and a rape exam was

performed. (RR vol. 30, p. 63.)

Investigation of the Scene of the Offense

      On September 26, Lora went to the Mesquite Police Department and gave

Investigator Michael Bradshaw a written statement about the events at Eastfield

College. She described the suspect shortly after the offense as 5'6" to 5'7", 140 to

165 pounds, approximately age 18 to 24, and a Black male. (RR vol. 30, p. 66.) A

few days later, she gave a second statement containing more information. (RR

vol. 30, pp. 67-68.) Thereafter, she met with a Dallas police officer who attempted

to create a composite sketch of the suspect. The sketch wasn’t satisfactory to

Lora. A second composite sketch was done in February of 1994 by Karen Taylor

in Austin, Texas. The second sketch more accurately resembled the suspect. (RR

vol. 30, pp. 68-69.)

      Wayne Cleere was a City of Mesquite police officer who responded to the

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crime scene at approximately 9:47 p.m.. He was the first officer to arrive, (RR

vol. 30, pp.118-20.) When he arrived, he saw Douglas White lying face down on

the ground. An ambulance crew immediately responded, and Cleere began trying

to locate individuals who could describe what occurred. (RR vol. 30, pp. 120-21.)

Cleere came into contact with Lora White, who was wandering in the field, in a

“disoriented” state. (RR vol. 30, p. 122.)

      Lora explained to Cleere what had occurred. Thereafter, she was

transported by Barry Woodrow, another officer who responded to Eastfield

College, to Parkland Hospital for a rape exam. (RR vol. 30, pp. 122-23.) After

speaking to Lora White, Cleere made a police report relating the information he

had learned. The description noted by Cleere on the police report was that the

suspect was that of a Black male, 20's, short. Cleere did not indicate a height,

weight, or any other characteristics despite those options being designated on the

report. (RR vol. 30, p. 130.) Cleere also recorded that he was told that the suspect

was last seen wearing a bandana on his head, with an orange shirt and dark shorts.

(RR vol. 30, p. 131.)

      Woodrow testified that the college was located in Dallas County, Texas.

(RR vol. 30, pp. 135-36.) At the hospital, Woodrow was given Lora’s clothes,

including her underwear, shorts, and tee-shirt. These items were later submitted to

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the Southwest Institute of Forensic Sciences (SWIFS) by Officer Chambless the

following day. (RR vol. 30, pp. 136-38.)

      Officer Darrell Simmons was also a Mesquite police officer who responded

to the crime scene. He examined the scene for physical evidence and took

photographs. (RR vol. 30, pp.139-41.) The photographs taken included the

Complainant, Douglas White, live rounds of ammunition found on the ground, and

spent shell casings. (RR vol. 30, pp. 142-43.) The shell casings were .380 caliber.

He also recovered a projectile. (RR vol. 30. P. 143.)

      John McClure, A City of Mesquite Police Officer, responded to the crime

scene shortly after the offense, at approximately 10:20 p.m. Once at the crime

scene, he collected two spent .380 shell casings. (RR vol. 31, p. 13.) He also

recovered a projectile and four live rounds, as well as a small spring. (RR vol. 31,

pp. 13-14.)

Forensic Investigation

      Patricia Marshall Schniebs was a licensed vocational nurse working at

Parkland Hospital at the time of the offense. She was part of the group that

conducted rape examinations. (RR vol. 30, pp.166-67.) She was on duty during

the early morning hours of September 22, 1993. She participated in the

examination of Lora White, with Dr. Richey. (RR vol. 30, pp. 169-70.) After the

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examination was completed, she placed the rape kit in a locked evidence box at

Parkland Hospital. (RR vol. 30, p. 175.)

      Michelle Skidmore Lee was employed as a forensic serologist with SWIFS

at the time of the offense. (RR vol. 30, p. 155.) She examined the rape kit

obtained from Lora White at Parkland Hospital. She picked up the results of the

examination from a locked cabinet at Parkland Hospital. (RR vol. 30, pp. 155-56.)

She also received items from the Mesquite Police Department which included the

clothing taken from Lora White. (RR vol. 30, p. 157.) An examination of that

clothing revealed the presence of spermatozoa. (RR vol. 30, p. 158.) The vaginal

swab taken from Lora White also revealed the presence of spermatozoa. The

evidence from the vaginal swab and the underwear was sent to Gene Screen, a

private DNA analysis laboratory in Dallas. (RR vol. 30, pp. 158-60.)

      Jeffrey Barnard was the Chief Medical Examiner for Dallas County. (RR

vol. 30, p. 185.) He was in charge of overseeing both the Medical Examiner’s

Office as well as the Crime Lab for Dallas County. He also performed autopsies.

(RR vol. 30, p. 186.) The doctor who actually performed the autopsy on Douglas

White was Dr. Guileyardo, who, at the time of trial, was no longer employed at

SWIFS. (RR vol. 30, p. 188.) External examination revealed two gunshot

wounds. One entered the right side of the face and exited the left side of the jaw.

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The second went through the right side of the chest, through the heart, and exited

the left side of the back. (RR vol. 30, pp. 191-92.) The cause of death was

gunshot wound and the case was classified as a homicide. (RR vol. 30, p. 192.)

The injury from the gunshot wound to the face indicated a “medium” range of fire,

meaning three-to three-and-a-half feet distance between the barrel of the gun and

the Complainant’s head. (RR vol. 30, pp. 193-94.) Gunpowder residue found on

the Complainant’s shirt was also consistent with a medium range of fire. (RR vol.

30, p. 199.)

       John McClure was also present at Tyler County Hospital when Applicant’s

blood sample was obtained. (RR vol. 31, p. 18.) The blood sample, which was

obtained pursuant to a search warrant, admitted as State’s Exhibit No. 16. In

addition to the blood, a buccal swab was obtained from Petitioner. (RR vol. 31, p.

20.) All the evidence collected at the Tyler hospital was then transported by

McClure to the Garland DPS laboratory. (RR vol. 31, p. 21.)

DNA Investigation

      Katherine Long was a forensic scientist at Gene Screen in Dallas. (RR vol

31, p. 28.) On February 13, 2001, she received the blood sample taken for

Petitioner from Sergeant McClure. She also received samples from Lora White’s

clothes and swabs from the rape kit secured from Lora White at Parkland Hospital.

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(RR vol 31, pp. 32-33.) Long concluded that there was a match between

Petitioner’s DNA and the DNA extracted from the vaginal swab obtained from

Lora White. (RR vol 31, p. 37.) Petitioner’s DNA sample also matched DNA

obtained from the underwear worn by Lora at the time of the offense. (RR vol 31,

pp. 37-38.) Long performed several DNA tests in the case because she was not

satisfied with some of the results. (RR vol 31, p. 47.)

      Dr. Paul Goldstein, a professor of genetics at the University of Texas at El

Paso, testified for the defense. He held a Master’s degree in genetics from Ohio

University and a PhD in genetics from York University and the University of

Toronto in Canada. (RR vol. 31, p. 54.) He examined all the tests performed in

this case specifically related to DNA. Review of the DNA tests run in this case

indicated that the tests were contaminated. The contamination was manifest by

presence of black primer. (RR vol. 31, pp. 56-57.) Dr. Goldstein also found the

“fine-tuning” done by the Genescreen lab to be “unacceptable.” (RR vol. 31, pp.

57-58.) The Genescreen report indicated subjective interpretation on the part of

the individual conducting the analysis, which is not precise. (RR vol. 31, p. 59.)

Dr. Goldstein also believed that the June 26th report, indicating a DNA match to

Applicant, was not scientifically valid, and would not be accepted within the

scientific community that is involved in DNA testing. (RR vol. 31, pp. 59-60.)

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      Dr. Goldstein observed that the equipment used by Genescreen was “six

generations behind in accuracy.” (RR vol. 31, p.62.) He also rejected the report

that the DNA samples “matched,”observing that the only way that a match could

be declared was with a test of the whole genome. (RR vol. 31, pp. 62-63.)

      Dr. Goldstein reviewed an external audit of the Garland DPS lab conducted

by Genescreen and DPS. The report cited deficiencies in the decontamination

protocol, the use of outdated reagents and the absence of qualified personnel at the

lab at the time the tests referred to in testimony were performed. The report also

chronicled deficiencies in report preparation. Based on the audit report, Dr.

Goldstein’s opinion was that any testing done in the lab was unreliable. (RR vol.

31, pp. 101-06.)

      John Donahue was a Texas Department of Public Safety Crime Lab DNA

analyst working in Garland. On February 9, 2001, he received samples of

evidence from John McClure which comprised blood and a saliva swab from

Petitioner. He compared DNA from the blood sample from Petitioner to DNA

collected on the vaginal swab from Lora White. He found that the DNA was

consistent, and that Petitioner “could not be excluded as a contributor.” (RR vol

31, pp. 112-14.) He also reviewed the report prepared by Katherine Long, and

agreed with her findings. (RR vol 31, p. 114.)

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      Donahue testified that his analysis used RFU (relative fluorescence units)

peaks greater that 100, but less than 150, and that he based his opinions on those

tests. (RR vol 31, p. 115.)

      Dr. Goldstein testified that the minimum RFU used throughout DNA testing

labs in the United States precludes peaks under 150 RFU because peaks under 150

RFU do not reflect actual analysis as opposed to background contamination.

Analysis of DNA should never be below 150 RFU because the manufacturer of the

equipment used in the analysis states in its guidelines and user manuals that

analysis under 150 RFU cannot be reliable due to the presence of possible

contamination. Therefore, a minimum level of analysis is 150 RFU or higher.

(RR XXXI 117-18.)

2001 Identification Investigation

      In 1994, Detective Bradshaw, the lead investigator, showed Lora a photo

line up. She was unable to identify anyone as being the perpetrator of the offense

against her and her husband. (RR vol. 31, p. 84) On February 10, 2001, he

showed her another photo lineup which contained a photo of Petitioner when he

was 17 years of age. (RR vol. 30, pp. 72-72; vol. 31, p. 84, 88) Approximately

one week before showing Lora the photo line up, Bradshaw met with her and told

her that there had been a DNA match in her case. He also told her that at that time

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the suspect was 26 years old. (RR vol. 31, p. 85) Lora picked Petitioner’s

photograph, identifying him as the perpetrator. (RR vol. 31, p. 95).

       Petitioner testified that he didn’t recall what he had done on September 21,

1993, approximately eight years prior to his trial. (RR vol. 32, pp. 7-8.) Petitioner

also denied being present at the crime scene on the day of the offense, and

maintained that he hadn’t committed the crime for which he was being tried. (RR

vol. 32, p. 9.)

       Petitioner admitted that in 1996, he pled guilty to the offense of sexual

assault as a result of a relationship that he had with a 15 year-old girl while he was

20 years old. He was placed on probation in the case. A year later, his probation

was revoked and he received a five year sentence. (RR vol. 32, pp.12-13.)

       He was visited by Mike Bradshaw on February 8, 2001 at the Gibb Lewis

Unit. (RR vol. 32, pp. 15-16.) Bradshaw had a warrant authorizing him to obtain

blood and saliva from Petitioner. Bradshaw also interrogated Petitioner for

approximately three-and-one-half to four hours about this offense. (RR vol. 32,

pp. 17-22.) After the interview, Applicant cooperated with Bradshaw, who took

him to have his blood drawn. (RR vol. 32, pp. 24-25.)

       Dennis J. Lockerman was employed by the Texas Department of Public

Safety, and was assigned to the CODIS laboratory in Austin, Texas. (RR vol 32,

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pp. 71-72.) Lockerman compared a DNA sample taken from Applicant’s blood

with the vaginal swab obtained from Lora White. He determined that the two

samples matched.



                   STATEMENT OF FACTS - PUNISHMENT

State’s Punishment Evidence

                                   Wendell Jones

      On April 23, 1994, Wendell Jones, a Dallas police officer, attempted to

conduct a traffic stop of Petitioner. was on duty. (RR col. 33, pp. 6-8.) The officer

attempted to stop Petitioner by turning on his overhead lights and siren. Petitioner

did not stop his vehicle and continued to accelerate, and a car chase ensued.

Petitioner was arrested and charged with evading arrest. (RR vol. 33, pp. 6-15.)

                              Glen Edward Thompson

      Glen Thompson, a fingerprint technician for the Dallas County Sheriff’s

Department, obtained a set of fingerprints from Petitioner during trial. He found

that the known prints matched those contained in State’s Exhibits 113, 114 and

116. State’s Exhibit No. 116 showed that Petitioner was convicted of the offense

of evading arrest. State’s Exhibit No. 113 indicated that on July 8, 1997 Petitioner

was convicted of sexual assault of a child, for which he received a five year prison

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sentence. State’s Exhibit No. 114 contained disciplinary reports while Petitioner

was in prison. (RR vol. 33, pp. 22-24.)

                               Danshatta Wilkerson

       Danshatta Wilkerson was the mother of Applicant’s child. She first met

Applicant in 1995. At the time, Petitioner drove a gray Cutlass. Petitioner told

Wilkerson that he had stolen the car and that he had robbed a man for it. He also

told Wilkerson that he “did a VIN number on it.” (RR vol. 33, pp. 25-31.)

Wilkerson also testified that in February of 2001, before trial, she was interviewed

by Mesquite police Detective Meeks, who threatened that if she did not agree to

testify she would “be seeing my children behind bars if I didn’t tell him what I

knew.” Wilkerson also testified that Petitioner was a good father to his child, that

he provided for both Wilkerson and the child, and that he was employed and

maintained employment before his arrest. Wilkerson never saw him with a

weapon and did not know him to be affiliated with any gang. (RR vol. 33, pp. 25-

34.)

                                   Stewart Atnip

       On July 14, 1995, Stewart Atnip was approached by a man with a gun who

demanded the car. His vehicle was a gray 1988 Oldsmobile Cutlass. Atnip

jumped from the car as the suspect was getting into the back seat. Atnip heard a

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“pop” as he ran away and later learned he had been shot in the buttocks. The

bullet exited Atnip’s leg. (RR vol. 33, pp. 35-40.) Atnip reviewed his Certificate

of Title and told the jury that the VIN was 1G3G011Y9JP313362. (RR vol. 33, p.

42.)

                                   Valerie Little

       Valerie Little was a police officer with the Mesquite Police Department. On

February 8, 2001 she was on duty and responded to Colgate Street in Lancaster.

The address was the residence where Applicant and his mother lived. She

executed a search warrant and seized a gray two-door Cutlass. The vehicle had a

vehicle identification plate which, upon removal, indicated another vehicle

identification plate underneath. The underlying vehicle identification plate

indicated a vehicle belonging to Stewart Atnip. Identification numbers attached to

the engine also indicated the vehicle belonged to Atnip. The top VIN number

indicated the vehicle belonged to Applicant. At the time the search warrant was

executed, Applicant was imprisoned in the Gibb Lewis Unit in Woodville, Texas.

(RR XXXIII 443-49.)

                                 Courtney Pierce

       Courtney Pierce was employed as a supervision officer in the sex crimes

unit of the Dallas County Adult Probation Department in June of 1966. She was

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Applicant’s probation officer. Applicant was supervised at the “maximum” level,

requiring frequent visits. She recalled Applicant as often being angry and “a very

challenging probationer.” While under supervision, Applicant failed to report on

several occasions and failed to complete sex offender counseling. He failed to pay

his fees and did not maintain regular employment. Applicant’s supervision was

subsequently revoked due to failing to pay fines, and being unsuccessfully

discharged from the sex offender treatment program. She also testified that

Applicant “mentioned” that he had raped a girl using a gun and said the victim got

what she deserved. (RR XXXIII 50-55.)

Defense Punishment Evidence

                                   Chris Freyer

      Chris Freyer first met Applicant when Applicant was a school mate of

Freyer’s son in the late 1980's or early 1990's. On one occasion, on Christmas eve,

Applicant came to Freyer’s house looking for Freyer’s son. The two were

approximately 15 or 16 years old at the time. Freyer’s son was out of town, and

Applicant had noone to stay with, so Freyer invited Applicant to spend Christmas

in his home. Applicant stayed in the home approximately two days. Freyer

recalled him as well-mannered and very likeable. Freyer’s son and Applicant

remained friends through the years. Freyer always believed Applicant was

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employed. Freyer and his family felt positively about Applicant, such that they

continued to have contact with him after his conviction for sexual assault. During

the period that Applicant was on probation, Freyer observed him to have a good

attitude and never seemed angry or hostile in any manner. (RR XXXIV 4-13.)

                             William Matthew Frye, Jr.

      William Matthew Frye, Jr. was a criminal defense attorney practicing in

Dallas since 1982. Prior to being a defense attorney, he was an assistant district

attorney for Dallas County for approximately five years. He previously

represented Applicant in connection with his charge for sexual assault. Applicant

was placed on probation for the offense of sexual assault as opposed to aggravated

sexual assault. None of the facts of the case indicated that the offense involved a

weapon or serious bodily injury, therefore the charge was sexual assault. (RR

XXXIV 22-24.)

                                   Sandra Freyer

      Sandra Freyer first came to know Applicant through her son, Kenny.

Applicant and Kenny used to mow lawns together in the neighborhood. When she

first came to know Applicant, he was approximately 16 years of age. In addition

to mowing lawns with Kenny, Applicant would join the family at their home for

dinner, going to church, and going out for meals. Applicant spent a lot of time at

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their house with their family. Sometimes, Applicant would stay overnight. At one

period of time he spent approximately a week staying at their house. Often, he

would spend Saturday night so he could accompany the family to church on

Sunday. Applicant always worked, many times having two jobs at the same time.

Applicant was always welcome in their home, and she never had any fear of him

for any reason. (RR XXXIV 25-32.)

State’s Rebuttal Evidence

                                   Diane Green

      Diane Green was Complainant Douglas White’s younger sister. On the

night of the offense, she received a telephone call from her older brother regarding

the incident on trial. Green went downstairs and told her mother. Later, they

received a second telephone call and were asked to go to the hospital where the

complainant, Douglas White was located. When they arrived at the hospital, they

discovered that he had died. (RR XXXIV 38-42.)




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                          FIRST CLAIM FOR RELIEF

THE ACTIONS OF PETITIONER’S TRIAL COUNSEL IN FAILING TO
INVESTIGATE AND PRESENT COMPELLING MITIGATION
EVIDENCE FELL SO FAR BELOW THE STANDARD OF CARE
REQUIRED OF COUNSEL TRYING CAPITAL CASES AS TO
CONSTITUTE INEFFECTIVE ASSISTANCE OF COUNSEL AND A
DENIAL OF THE PETITIONER’S RIGHTS UNDER THE SIXTH AND
FOURTEENTH AMENDMENTS OF THE UNITED STATES
CONSTITUTION.

      This claim was not presented in Petitioner’s State Application for Writ of

Habeas Corpus and is the subject of a Motion to Stay Federal Proceeding filed of

even date.

      The facts in support of this claim, among others to be presented after full

investigation, discovery, access to this Court’s subpoena power, and an

evidentiary hearing, include the following:

Trial Counsel Failed to Investigate Petitioner’s Life History

      Trial counsel never requested that a psychologist or a mitigation

investigator be appointed to assist them in preparation for Petitioner’s trial.

Notwithstanding the fact that there was evidence of a significant head injury

inflicted upon the Petitioner during his childhood, there was no effort to secure the

appointment of a neuro-psychologist to conduct testing to determine whether

Petitioner suffered from organic brain damage. Trial counsel did not attempt to


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obtain the Petitioner’s medical records. Trial Counsel only met once or twice with

Petitioner’s family prior to his trial. The time or times that trial counsel met with

Glenda Turner, Petitioner’s mother, were to discuss the possibility of her testifying

about the circumstances of Petitioner’s childhood. There was no effort to develop

a comprehensive life history to present to the jury. (Petitioner’s Exhibit 1,

Affidavit of Glenda Turner).

There was Significant Mitigating Evidence Available to the Trial Team

      There was evidence that Petitioner had not done well in school at all and

that he had not graduated from high school. There was evidence that Petitioner

had been unable to maintain employment and that the educational and employment

shortcomings may have been the result of mental illness. There was evidence that

Petitioner had been physically abused by his step-father. There was evidence that

Petitioner had suffered a severe head injury at a young age and that, as a result of

his injury, he had been hospitalized for a significant period of time. (Petitioner’s

Exhibit 2, Declaration of Amanda Maxwell).

Trial Counsel Failed to Present the Compelling Mitigating Evidence

      The only testimony at the punishment phase of Petitioner’s trial comprised

the testimony of Matt Fry, the attorney who represented Petitiioner in the

statutory rape case he pled guilty to in 1996 (RR vol. 34, pp. 22-25) and the step-

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father and mother of a childhood friend, Chris Freyer (RR vol. 34, pp. 5-23) and

Sandra Freyer. (RR vol. 34, pp. 25-37).

      Mr. Fry’s testimony was limited to the fact that Petitioner had not been

charged with aggravated sexual assault in the 1996 case. He also told the jury that

there was no plea agreement which allowed Petitioner to plead guilty to a lesser

offense than the one committed. This testimony rebutted the testimony offered by

the State that Petitioner had used a weapon during the commission of that offense

and was convicted of aggravated sexual assault.

      The Freyers were divorced by the time of Petitioner’s trial. Chris Freyer

described Petitioner as a shy, well mannered, likable guy and a friend of his step-

son, Kenny. He told the jury about Petitioner’s spending a Christmas with them

because he didn’t have any other place to go. Petitioner stayed with the Freyers

even though Kenny was in Mississippi with his father’s family. Sandra Fryer

remembered Petitioner spending a lot of time at their home, sometimes up to a

week at a time. She said that Petitioner would also accompany her family to

church and out to lunch thereafter.

      No evidence was offered about the head injuries that Petitioner suffered,

including one, at approximately three years of age, when Petitioner spent

approximately two weeks at Parkland Hospital. Neither was there evidence

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offered showing the abuse that Petitioner suffered at the hands of his step-father,

Johnny Lane. Further, the jury did not hear evidence that mental illness was

common in Petitioner’s family and that he had manifested symptoms of

schizophrenia.

      The constitutional violations set forth in this claim alone mandate relief

from the conviction and sentence. However, even if these violations do not

mandate relief standing on their own, relief is required when this claim is

considered together with the additional constitutional errors outlined in the

remainder of this Petition. Cumulatively, these errors mandate relief from Mr.

Braziel’s convictions and sentence.


                        SECOND CLAIM FOR RELIEF

PETITIONER WAS DENIED THE DUE PROCESS RIGHTS
GUARANTEED HIM BY THE FIFTH AND FOURTEENTH
AMENDMENTS TO THE UNITED STATES CONSTITUTION WHEN
THE STATE CREATED THE FALSE IMPRESSION THAT PETITIONER
HAD PREVIOUSLY BEEN CONVICTED OF THE OFFENSE OF
AGGRAVATED SEXUAL ASSAULT

      This claim was presented as Ground for Relief One in Mr. Braziel’s State

Habeas Application. This claim was rejected by the Court of Criminal Appeals

when it adopted the Findings of Fact and Conclusions of Law entered by the trial

court in Ex Parte Alvin Avon Braziel, Jr., No. WR-72,186-01 (Tex. Crim. App.

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2009) (unpublished). The Court’s rejection of this claim is both “contrary to” and

an “unreasonable application” of clearly established federal law and based on an

unreasonable determination of the facts.

      The facts in support of this claim, among others to be presented after full

investigation, discovery, access to this Court’s subpoena power, and an

evidentiary hearing, include the following:

Pearce’s Testimony was Incorrect

      In June 1996 Courtney Pearce was employed in the sex crimes unit of the

Dallas County Probation Office. (RR vol. 33, p. 50.) She was Petitioner’s

supervising officer. (RR vol. 33, p. 51.) She testified that Petitioner mentioned

that he raped a girl and admitted that he used a gun. (RR vol. 33, p. 53.)

      Pearce’s recollection was that Petitioner was on probation for aggravated

sexual assault. (RR vol. 33, p. 54.) Her belief that Petitioner was on probation for

aggravated sexual assault was based on the original offense report made in the

case. (RR vol. 33, p. 55.)

      Ms Pearce’s probation file, produced by the Dallas County Probation

Office, in response to a subpoena issued by state habeas counsel, contained a four

page “Prosecution Report.” The second page of the report indicates that the victim

“can testify that she entered the suspect’s vehicle on her own free will at Forney

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and Buckner” and does not mention any threat or weapon. Page four of the report

comprises a narrative statement of the alleged offense and does not mention the

use or exhibition of a weapon during the commission of the offense. (Ex. 4, State

Habeas Application.)

      On cross examination, when confronted with the fact that Petitioner had

pled guilty to sexual assault, not aggravated sexual assault, Pearce said that she

based her reliance on an offense report which said that “he sexually assaulted a

fifteen-year-old at gunpoint.” (RR vol. 33, p. 55.)

The State Not Only Knew that the Testimony was Incorrect, but Allowed it to
Go Uncorrected

      The Assistant District Attorney asked a leading question of Pearce that

solicited her testimony about Petitioner’s use of a weapon in the commission of

the offense against Ms Taylor. (RR vol. 33, p. 53.) When the prosecutor heard

Pearce’s response, he had reason to know the answer that Pearce gave was

incorrect. Whether counsel for the defense had or should have had knowledge of

the false impression the state was perpetrating; there can be no doubt that the

Assistant District Attorney did.

      The prosecutors knew that there had been a supplemental report of the

sexual assault offense (it may have been the report that Pearce had in her files).



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Patrick Bland’s supplemental report 1, completed the day after the offense was

committed, shows that the charges were sexual performance of a child and sexual

assault, both listed as second degree felonies. (Ex. 4, State Habeas Application;

Ex. E, State’s Response to Habeas Application.)

      In Napue v. Illinois, 360 U.S. 264, 79 S. Ct. 1173, 3 L. Ed. 2d 1217 (1959),

the Supreme Court held that when a prosecutor failed to correct the testimony of a

witness which he knew to be false, the accused was denied due process in

violation of the Fourteenth Amendment to the Constitution of the United States.

The Napue Court held that the failure to correct false testimony resulted in the

same Fourteenth Amendment violation that intentionally offering misleading

testimony did. Id. at 269.

      The prosecutor’s actions in Napue may Hve been be more egregious than

those before the court. The witness there lied about not having been promised

anything for his cooperation with the prosecution and testified that no such

promise had been made. The result in this case is comparable, though. As a result

of Pearce’s testimony, Petitioner’s jury was left with the impression that he had

used a weapon to effect a sexual assault subsequent to the offense for which he

was on trial. Though the court, in Napue, talked in terms of a lie being a lie, the

crux of the holding is that when false testimony, regardless of why it is false, is

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offered and the prosecutor knows that it is false, he has a responsibility to correct

it. The prosecutor’s failure to make the correction need not be the result of evil

intent, “the impact is the same, preventing, as it did, a trial that could in any sense

be termed fair.” Id. at 270. Petitioner was denied a fair trial by the prosecutor’s

failure to correct Pearce’s assertion that Petitioner used a gun in the rape of

Tewania Taylor.

      The constitutional violations set forth in this claim alone mandate relief

from the convictions and sentence. However, even if these violations do not

mandate relief standing on their own, relief is required when this claim is

considered together with the additional constitutional errors outlined in the

remainder of this Petition. Cumulatively, these errors mandate relief from Mr.

Braziel’s conviction and sentence.


                          THIRD CLAIM FOR RELIEF

PETITIONER WAS DENIED THE RIGHTS GUARANTEED HIM BY THE
SIXTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
CONSTITUTION WHEN THE STATE FAILED TO DISCLOSE
SUPPLEMENTAL POLICE REPORTS WHICH REVEALED THAT THE
VICTIM OF THE SEXUAL ASSAULT HE HAD BEEN CONVICTED OF
RECANTED THE ALLEGATION THAT PETITIONER USED OR
EXHIBITED A WEAPON DURING THE COMMISSION OF THE
OFFENSE

      This claim was presented as Ground for Relief Two in Mr. Braziel’s State

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Habeas Application. This claim was rejected by the Court of Criminal Appeals

when it adopted the Findings of Fact and Conclusions of Law entered by the trial

court in Ex Parte Alvin Avon Braziel, Jr., No. WR-72,186-01 (Tex. Crim. App.

2009) (unpublished). The Court’s rejection of this claim is both “contrary to” and

an “unreasonable application” of clearly established federal law and based on an

unreasonable determination of the facts:

      The facts in support of this claim, among others to be presented after full

investigation, discovery, access to this Court’s subpoena power, and an

evidentiary hearing, include the following.

The Evidence Was Suppressed By The State

      Tewania Taylor, the victim in the 1996 offense committed by Petitioner,

gave an affidavit in support of Petitioner’s State Habeas Corpus Application. Her

affidavit is uncontroverted. She said that “When I was interviewed by George

West I told him that I was not abducted at gunpoint as I had originally said.” (Ex.

7, State Habeas Application.) The affidavit could only have been controverted by

West himself and he did not give an affidavit in this matter. The handwritten

notes comprising Exhibit A to the State’s Original Answer to Application for Writ

of Habeas Corpus in Death Penalty Case are no evidence of what Tewania Taylor

told George West or any other representative of the State. Whoever made the

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notes didn’t even spell her name correctly. The notes aren’t dated and no other

witness claims to have heard Ms Taylor state, after the original report, that a

weapon was used.

      Prior to trial, West told Petitioner’s trial counsel that Taylor, would testify at

the punishment phase of Petitioner’s trial and that she would say that a gun was

used or exhibited during the offense. (Ex. 8, State Habeas Application.) It is

unclear exactly when West made this representation to counsel, but it is clear that

Taylor told him that no weapon was used in the offense before trial began. (Ex. 7,

State Habeas Application.) West did not disclose to Petitioner’s trial counsel that

Taylor denied that a gun was used in the perpetration of the offense against her.

The fact that no weapon was used in the sexual assault constituted evidence which

mitigated the evidence West claimed would be offered. Whether West knew about

Taylor’s recantation or not before she told him, he certainly knew so before he

asked Pearce, “Did he admit he used a weapon, a gun?” (RR vol. 33, p. 53.)

      It is very unlikely that Petitioner would have “admitted” to using a weapon

in an offense when even the victim acknowledged no weapon was used. It is also

revealing that when the State cross-examined Petitioner during the guilt/innocence

phase of the trial, he was not asked about using a weapon in the Taylor case. Even

if Petitioner “mentioned” to Pearce that he had used a gun in the sexual assault of

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Tewania Taylor, which Petitioner denies, Ms Taylor told West that wasn’t the case

before the presentation of evidence started. West was charged with the knowledge

that there were supplemental reports which clearly indicated that no weapon had

been used in the offense against Taylor.

The Evidence Withheld Was Favorable to Petitioner in Mitigation of
Punishment

      Argument was made that if the jurors had been asked if Petitioner would

probably commit criminal acts of violence in the future on September 22, 1993, in

1994, or in 1995 and they answered “no,”they “would have been flat out one

hundred percent wrong....” (RR vol. 34, p. 51.) This argument insinuated that the

jury would have been wrong because Petitioner purportedly committed a criminal

act of violence in 1996. Clearly the false testimony that Petitioner had used a

weapon in the Taylor case put Petitioner in a far worse light than conviction of

statutory rape, the offense which he committed and of which he was convicted.

      In the State’s closing argument, Mr. West said “The defendant’s own words

were that he used a gun in the offense. Does that sound like a person who wants

to have control and wants to have dominance over someone?” (RR vol. 34, p. 67.)

If the truth, that Petitioner had not used a weapon, had been presented to the jury,

the State’s argument would have been significantly weaker.



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      In Brady v. Maryland, 373 U.S. 83, 10 L. Ed. 2d 215, 83 S Ct 1194 (1963)

the Supreme Court held that the State’s failure to turn exculpatory evidence over

to counsel for the defense, after receiving a request for such evidence was a

violation of the due process guaranteed by the Fourteenth Amendment to the

United States Constitution. The court has also held that, when the prosecution

represents that it is making or has made all exculpatory evidence available to the

defense, the requirement for a specific request is met. Strickler v. Greene, 527

U.S. 263, 281-282, 144 L. Ed. 2d 286, 119 S. Ct. 1936. In Petitioner’s case, the

State was ordered to provide all information in the files of the chief case agent,

Michael Bradshaw, to the defense before the presentation of evidence was to

begin. The State claimed then and continues to claim that four boxes comprising

Bradshaw’s file were made available to the defense. Trial counsel, in his affidavit,

Petitioner’s Exhibit 3, Affidavit of Richard Franklin, unequivocally states that the

supplemental police reports which recorded the recantation of the victim’s original

claim that a gun had been used during her sexual assault were not provided to him.

Further, trial counsel swears that the State continued, through trial, to claim that a

gun had been used or exhibited by Petitioner during the course of the sexual

assault.

      The constitutional violations set forth in this claim alone mandate relief

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from the convictions and sentence. However, even if these violations do not

mandate relief standing on their own, relief is required when this claim is

considered together with the additional constitutional errors outlined in the

remainder of this Petition. Cumulatively, these errors mandate relief from Mr.

Braziel’s convictions and sentence.


                          CLAIM FOR RELIEF FOUR

ALVIN AVON BRAZIEL IS MENTALLY RETARDED AND THEREFORE
INELIGIBLE FOR EXECUTION PURSUANT TO THE EIGHTH
AMENDMENT OF THE UNITED STATES CONSTITUTION AND
DECISION OF THE UNITED STATES SUPREME COURT IN ATKINS V.
VIRGINIA, 536 U.S. 304 (2002)

      This claim was presented as Ground for Relief Four in Mr. Braziel’s State

Habeas Application. This claim was rejected by the Court of Criminal Appeals

when it adopted the Findings of Fact and Conclusions of Law entered by the trial

court in Ex Parte Alvin Avon Braziel, Jr., No. WR-72,186-01 (Tex. Crim. App.

2009) (unpublished). The Court’s rejection of this claim is both “contrary to” and

an “unreasonable application” of clearly established federal law and based on an

unreasonable determination of the facts.

      The facts in support of this claim, among others to be presented after full

investigation, discovery, access to this Court’s subpoena power, and an


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evidentiary hearing, include the following:

         The American Association on Mental Retardation (“AAMR”) defines

mental retardation as: (1) subaverage general intellectual functioning (i.e., an IQ

of approximately 70 or below) existing concurrently with (2) related limitations in

two or more of the following applicable adaptive skill areas: communication, self-

care, home living, social skills, community use, self-direction, health and safety,

functional academics, leisure, and work; and (3) onset before the age of eighteen.

AMERICAN ASSOCIATION ON MENTAL RETARDATION, MENTAL RETARDATION:

DEFINITION, CLASSIFICATION, AND SYSTEMS OF SUPPORTS 5 (9th ed. 1992)

[hereafter AAMR, MENTAL RETARDATION]. The Diagnostic and Statistical

Manual of Mental Disorders (“DSM-IV-TR”) employs a definition that is nearly

identical.1 Each of the three elements is an essential component of a professional

diagnosis of mental retardation. The Supreme Court has expressly relied on the

AAMR’s three-prong definition of mental retardation, Penry v. Lynaugh, 492 U.S.

302, 307-09, n.1 (1989) (“Penry I”), as has the Court of Criminal Appeals. Ex

         1
          The DSM-IV-TR defines mental retardation as follows:

         The essential feature of Mental Retardation is significantly subaverage general intellectual functioning
         (Criterion A), that is accompanied by significant limitations in adaptive functioning in at least two of
         the following skill areas: communication, self-care, home living, social interpersonal skills, use of
         community resources, self-direction, functional academic skills, work, leisure, health and safety
         (Criterion B). The onset must occur before age 18 years (Criterion C).

American Psychiatric Association, D IAGN O STIC AN D S TATISTICAL M AN U AL O F M EN TAL D ISORDERS 41 (4 TH ed., text rev.
2000) (“DSM -IV-TR”).

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parte Tennard, 960 S.W.2d 57, 60-61 (Tex. Crim. App. 1997).2

         The first component of the clinical assessment of mental retardation is

measuring the magnitude of the individual’s intellectual impairment. To be

classified as mentally retarded, an individual must be found to be functioning at

the very lowest intellectual level encountered in the general population, as

measured by standardized intelligence tests. The intellectual functioning of any

individual with mental retardation will fall within the lowest three percent of the

entire population.3 Thus, the first prerequisite for a diagnosis of mental

retardation is severely impaired cognitive functioning.

         The second requirement, deficits in adaptive behavior, serves to confirm the

reality of the psychometric measurement of the individual’s severe impairment.

The impairment must be observed to have “real-world” effects on the individual’s


         2
          In late May, 2002, the AAMR release the 10 th edition of its manual, M ENTAL R ETARD ATIO N : D EFIN ITIO N ,
C LASSIFICATIO N , AN D S Y STEM S O F S U PPOR TS . Mental retardation is redefined in this manual, as follows:

         M ental retardation is a disability characterized by significant limitations both in intellectual
         functioning and in adaptive behavior as expressed in conceptual, social, and practical adaptive skills.
         This disability originates before age 18.

The three diagnostic criteria are the same, but there is now a greater emphasis on adaptive behavior deficits, and the way
in which those deficits are described has changed. See Appendix B, Consultation Report of Professor Ruth Luckasson.
The Luckasson report, though prepared for another case, Ex parte Briseno, is relevant to this case because of its
discussion of impairments and deficits. The differences between the 1992 AAMR manual and the 2002 AAMR manual
are addressed in Professor Luckasson’s report.

         3
           See, e.g., Amici Curiae Brief of American Psychological Association, American Psychiatric Association, and
American Academy of Psychiatry and the Law in McCarver v. North Carolina, No. 00-8727, at 7 (“studies invariably
put the number [of people with mental retardation] at less than 3% of the general population, usually in the 1% to 3%
range”); DSM -IV-TR 46 (“The prevalence rate of Mental Retardation has been estimated at approximately 1%.”).

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life functioning. As the Supreme Court has noted, all people with mental

retardation “have a reduced ability to cope with and function in the everyday

world.” Cleburne v. Cleburne Living Center, Inc., 473 U.S. 432, 442 (1985). The

requirement of real, identifiable disabling consequences in the individual’s life –

of reduced ability to “cope with common life demands,” DSM-IV-TR 42 – assures

that the diagnosis applies only to persons with an actual, functional disability. See

AAMR, MENTAL RETARDATION 38. Previous versions of the definition of mental

retardation expressed this requirement in terms of “deficits in adaptive behavior,”

see Penry I, 492 U.S. at 308 n.1 (citing an earlier edition of the AAMR’s

classification manual), while more recent formulations employ the terms “related

limitations” in “adaptive skill areas.” AAMR, MENTAL RETARDATION 5; see

DSM-IV-TR 42. Both sets of terms reflect the same concept: that the impairment

in intellectual ability must have an actual impact on everyday functioning.

      The third definitional requirement is that the disabling condition must have

manifested itself during the developmental period of life, before the individual

reaches the age of eighteen. Requiring the disability to have occurred at birth or

during childhood means that the individual’s mental development during his or her

crucial early years was affected by the impairment of the brain’s ability to

function. This element of the definition is derived from the understanding of

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modern neuroscience about the way the brain develops and the implications of its

arrested development for cognitive impairment. See AAMR, MENTAL

RETARDATION 16-18. In practical terms, it means that any individual with mental

retardation not only has a measurable and substantial disability now, but that he or

she also had it during childhood, significantly reducing the ability to learn and

gain an understanding of the world during life’s formative years.

      Credible evidence exists that Mr. Braziel is mentally retarded. Although

additional testing has yet to be done, IQ scores obtained from the Texas

Department of Corrections show a full scale IQ of 75, which is within the IQ range

set out in the AAMR manual. Additional testing has not been completed because

State Habeas Counsel was unable to obtain funds to have Petitioner tested.

Further, the undersigned have requested funds for testing which have been

withheld pending an additional showing of need.

      Mr. Braziel’s school records also show significant academic deficiencies.

As noted in the declaration of the investigator appointed to assist counsel on the

Atkins issue:

                   A review of limited school records reveals that
             Alvin spent two years in first grade. Both years he
             received N grades in all academic subjects. In second
             grade he was working on grade level. However, by
             fourth grade his standardized ITBS scores showed that

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             he was still on a second grade first month level. He
             continued to struggle academically throughout
             elementary school making mostly failing grades. Alvin
             spent two years in seventh grade where ITBS scores
             placed him on a fourth grade level. His standardized
             tests scores (TAAS) had a high of 655 out of a possible
             2400. By ninth grade, still failing most subjects, Alvin
             dropped out of school. He was receiving remedial
             reading services. At this time his standardized state
             exam on reading revealed a high score of 1400 out of a
             possible 2400.

                   With frequent school and home moves,
             academically, Alvin “fell through the cracks.” There is
             no indication that Alvin was tested for special education
             although it is highly possible he would have qualified for
             services with such a history of failure and academic
             struggle. He would absolutely have qualified as a
             student with “other health impairment” due to his
             traumatic brain injury and continuous academic failure.

      As also noted by Ms. Maxwell, the traumatic brain injury sustained by Mr.

Braziel, the rootlessness that was a hallmark of his home life and upbringing, and

his intellectual impairments, resulted in Petitioner’s significant adaptive

deficiencies. The deficiencies are evidenced by his spotty work history and

inability to conform to the rules of probation.

      The records also show that the onset of Mr. Braziel’s intellectual and

adaptive deficiencies occurred prior to the age of 18 years, thus meeting the

criteria for a diagnosis of mild mental retardation pursuant to both the DSM-IV



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and the AAMR manual.

      The constitutional violations set forth in this claim alone mandate relief

from the convictions and sentence. However, even if these violations do not

mandate relief standing on their own, relief is required when this claim is

considered together with the additional constitutional errors outlined in the

remainder of this Petition. Cumulatively, these errors mandate relief from Mr.

Braziel’s conviction and sentence.


                         FIFTH CLAIM FOR RELIEF

PETITIONER WAS DENIED THE DUE PROCESS RIGHTS
GUARANTEED HIM BY THE FIFTH AND FOURTEENTH
AMENDMENTS TO THE UNITED STATES CONSTITUTION WHEN
THE TRIAL COURT ADMITTED AN IDENTIFICATION WHICH WAS
THE PRODUCT OF AN UNDULY SUGGESTIVE PHOTO LINEUP

      This claim was presented as Point of Error Two in the direct appeal. Brief of

Appellant at 24 et. seq. This claim was rejected in an opinion by the Texas

Criminal Court of Appeals. State v. Braziel, No. AP-74,643 at 6 (Tex. Crim. App.

Sept. 28, 2005)(unpublished) . The court’s denial of this claim is both “contrary

to” and an “unreasonable application” of clearly established federal law and based

on an unreasonable determination of the facts.

      The facts in support of this claim, among others to be presented after full


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investigation, discovery, access to this Court’s subpoena power, and an

evidentiary hearing, include the following:

Poor Opportunity to Observe

      Lora White’s opportunity to observe the person who assaulted her and killed

her husband was limited by poor lighting.

Detective Taints Viewing of Photo Lineup

      When Petitioner’s sexual assault probation was revoked and he was

sentenced to confinement in TDCJ-ID, an attempt was made to obtain his blood

sample pursuant to Government Code §141.148. On August 7, 1997, Petitioner

refused to give a blood sample. (RR vol. 32, p. 66.) Patricia Marshall, a

phlebotomist with the Texas Department of Criminal Justice took a blood sample

from Petitioner on November 22, 1999. She also had Petitioner place a fingerprint

on the card and sign it. (RR vol. 32, p. 65.) The sample and signature card were

sent from the Gibb Lewis Unit to the Department of Public Safety lab in Austin.

(RR vol. 32, p. 67.)

      The sample of Petitioner’s DNA was first sent, by the DPS, to Myriad

Genetic Laboratory in Salt Lake City for testing. Myriad found a match between

the DNA extracted from the vaginal swab taken from Lora White and DNA

extracted from Petitioner’s blood. When Myriad found a match, the DPS

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laboratory conducted a confirmation test. The DPS test, too, produced a match.

(RR vol. 32, pp. 75-76.)

      Michael Bradshaw showed Lora White a photo lineup of suspects in 1994.

She was unable to identify the offender. (RR vol. 32, p. 84.) Seven and one half

years later, he met Lora in a restaurant in Terrell, Texas. (RR vol. 32, p. 84-85.)

He told her that he had a suspect with a DNA match. (RR vol. 32, p. 85.)

Approximately five days later, Bradshaw showed Lora the photo lineup which had

Petitioner’s picture in it. (RR vol. 32, p. 85.) Bradshaw told Lora the suspect’s

age at the time of the offense and at the time they met. (RR vol. 32, p. 85.)

Bradshaw told Lora more about the suspect than he normally would. The picture

placed in the photo lineup was of Petitioner as a 17 year old, notwithstanding the

fact that the description given by Lora immediately after the incident indicated that

the perpetrator was in his twenties. (RR vol. 32, p. 88, 90.)

      Lora viewed the photo lineup comprising six photographs of black males

provided to her by Bradshaw on February 9, 2001. (RR vol. 30, p. 73-74.)

Bradshaw did not tell her that the suspect was in the photo lineup. (RR vol. 30, p.

74.) Lora picked the photo in space three as the one who had committed the

offense. (RR vol. 30, p. 74.) Lora identified Petitioner as the man whose photo

was in the third position of the lineup. (RR vol. 30, p. 75.)

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      The constitutional violations set forth in this claim alone mandate relief

from the convictions and sentence. However, even if these violations do not

mandate relief standing on their own, relief is required when this claim is

considered together with the additional constitutional errors outlined in the

remainder of this Petition. Cumulatively, these errors mandate relief from Mr.

Braziel’s conviction and sentence.


                         SIXTH CLAIM FOR RELIEF

ARTICLE 37.071 § 2(b)(1) OF THE TEXAS CODE OF CRIMINAL
PROCEDURE VIOLATES THE EIGHTH AND FOURTEENTH
AMENDMENTS TO THE UNITED STATES CONSTITUTION BECAUSE
THE AGGRAVATING FACTORS EMPLOYED IN THE TEXAS CAPITAL
SENTENCING SCHEME ARE VAGUE AND DO NOT PROPERLY
CHANNEL THE SENTENCER’S DISCRETION.

      This claim was presented as Point of Error Six in the direct appeal. Brief of

Appellant at 48 et. seq. This claim was rejected in an opinion by the Texas

Criminal Court of Appeals. State v. Braziel, No. AP-74,643 at 14 (Tex. Crim.

App. Sept. 28, 2005)(unpublished) . The court’s denial of this claim is both

“contrary to” and an “unreasonable application” of clearly established federal law

and based on an unreasonable determination of the facts.

      The facts in support of this claim, among others to be presented after full

investigation, discovery, access to this Court’s subpoena power, and an

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evidentiary hearing, include the following:

      The jury in Mr. Braziel’s case was instructed to answer this question at the

punishment phase:

                   Is there a probability that the Defendant, Alvin
             Avon Braziel, would commit criminal acts of violence
             that would constitute a continuing threat to society?

      CR at 102.

      On direct appeal, Mr. Braziel complained that Article 37.071 § 2(b)(1) is

unconstitutional because the description of these aggravating factors is vague and

does not properly channel the sentencing jury’s discretion, in violation of the

Eighth and Fourteenth Amendments to the United States Constitution. See

Woodson v. North Carolina, 428 U.S. 280, 305(1976); Simmons v. South

Carolina, 512 U.S. 154 (1994); Godfrey v. Georgia, 446 U.S. 420 ( 1980) ; Sparf

v. U.S., 15 S.Ct. 273, 293 156 U.S. 51 (U.S.Cal. 1895) Pennsylvania ex rel.

Sullivan v. Ashe, 302 U.S. 51, 55 (1937). Gregg v. Georgia, 428 U.S. 153 (1976).

Boyde v. California, 494 U.S. 370 (1990)

      In 1972 the Supreme Court struck down the capital punishment statutes then

in effect in this country because they permitted the arbitrary and capricious

infliction of the death penalty. See Furman v. Georgia, 408 U.S. 238 (1972).

Texas immediately revamped its death penalty, and this statute -- article 37.071 --

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was held facially constitutional in 1976. See Jurek v. Texas, 428 U.S. 262 (1976).

Developments since 1976, however, make it clear that the Texas statute is

unconstitutional because the aggravators it relies upon are vague and do not

adequately channel the sentencing jury’s discretion.

      Different states employ different vehicles for submitting aggravating

circumstances to the jury. “In Texas, the aggravating factor is contained in the

definition of the crime and in our requirement at punishment that the jury find the

defendant to be a continuing threat to society.” McFarland v. State, 928 S.W. 2d

482, 520 (Tex. Crim. App. 1996), cert. denied, 519 U.S. 1119 (1997). That is, the

first special issue under article 37.071 is an aggravator under Texas law.

      The Supreme Court has denounced the use of vague aggravating factors. “A

vague aggravating factor employed for the purpose of determining whether a

defendant is eligible for the death penalty fails to channel the sentencer's

discretion.” Stringer v. Black, 503 U.S. 222, 235 (1992). In Arave v. Creech, 507

U.S. 463 (1993), the Court considered the constitutionality of an Idaho aggravator

which asked whether the defendant "exhibited utter disregard for human life.”

The Court found that this phrase did pass constitutional muster because the Idaho

courts had adopted a limiting construction, concluding that it was the action of a

"cold-blooded, pitiless slayer.” Cold-blooded and pitiless are not subjective, but

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instead describe a defendant's state of mind, ascertainable from the surrounding

facts. The Court acknowledged that the question was close. Id. at 475.

      Although the question was close in Arave, it is not in Texas. Unlike Idaho,

in Texas, the special issue terms --probability, criminal acts of violence, and

continuing threat to society -- are absolutely undefined, by statute and case law.

See, e.g., Patrick v. State, 906 S.W. 2d 481, 494 (Tex. Crim. App. 1995), cert.

denied, 517 U.S. 1106 (1996); Chambers v. State, 903 S.W. 2d 21, 35 (Tex. Crim.

App. 1995); Clark v. State, 881 S.W. 2d 682, 698, 699 (Tex. Crim. App. 1994),

cert. denied, 513 U.S. 1156 (1995). Thus, Texas juries are left to guess at the

meaning of these terms, and, as such, at the meaning of the entire first special

issue. Absent clarifying definitions, the aggravators found in the first special issue

fails to channel the sentencer’s discretion, in violation of the Eighth and

Fourteenth Amendments to the United States Constitution.

      Petitioner’s jury was asked whether there was a “probability” that Mr.

Braziel would commit criminal acts of violence that would constitute a continuing

threat to society. However, the judge did not inform the jury of the degree of

probability, the seriousness of the predicted crimes, or how long such crimes must

continue to justify an affirmative answer. The elastic terms and phrases

comprising the first special issue render the jury’s finding too unreliable to support

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Mr. Braziel’s death sentence. Mr. Braziel’s sentence, therefore, violates the

Eighth and Fourteenth Amendments to the United States constitution and must be

set aside. The Supreme Court has consistently held that the death penalty should

be reserved for the most atrocious cases, since the culpability of the average

murderer is insufficient to justify imposition of death. Godfrey v. Georgia, 446

U.S. 420, 433 (1980), cited with approval in Atkins, 536 U.S. at 319. The

vagueness of the terms and phrases in the special issue on future dangerousness

make the application of the death penalty overly broad and would make

defendants subject to the death penalty even if those individuals are not the worst

of the worst.

      With respect to the word “probability” in the first special issue, the Texas

Court of Criminal Appeals has established “more likely than not” as its standard

on appellate review. Hughes v. State, 878 S.W.2d 142, 146 (Tex. Crim. App.

1992), cert. denied, 511 U.S. 1152 (1994); Robison v. State, 888 S.W.2d 473, 481

(Tex. Crim. App. 1994), cert. denied, 515 U.S. 1162 (1995). In this case, the trial

court failed to instruct the jury that this was the criteria to apply to the evidence in

Mr. Braziel’s case. Law abiding, conscientious jurors could have applied a

probability as low as one-tenth of one percent and yet remained faithful to their

oaths to render a true verdict according to the law and the evidence. Instead of

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being left to assume any standard, the jury should have been instructed of the

proper value for the word “probability,” which, to equate with the Texas appellate

standard of “more likely than not,” would be over 50% certainty.

      A failure to require proof that a defendant poses a serious threat to society

over a substantial period of time also means that the jury was given too much

discretion and not provided necessary guidance in imposing a death sentence on

Mr. Braziel. Texas has not announced any explicit standards for the phrase

“criminal acts of violence” or “continuing threat to society.” The jurors in Mr.

Braziel’s case were simply left to guess about how serious the predicted criminal

acts of violence must be, and how long they must be expected to continue. The

word “continuing” begs the questions: “How long?” and “Under what

circumstances?” Continuing could mean any time interval between seven seconds

and seventy years. With these elastic terms, a law abiding juror could find a

defendant to be a future danger by concluding that the defendant bears only a

minimal risk that he will commit any offense in the future. Because of the lack of

minimal standards and guidance in these elements, there is no way to determine

how likely the jury thought it was that Mr. Braziel would commit criminal acts of

violence, how serious such acts were expected to be, or how long or where he was

expected to be a threat to society.

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       Jurek and its progeny do not foreclose Petitioner’s argument that the present

Texas capital sentencing statute is unconstitutional. Mr. Braziel argues that the

Texas post- Penry I amendments to art. 37.071 significantly diminish the

precedential effect of the part of the 1976 opinion in Jurek that rejected the need

for clarification of the terms and phrases of the future dangerousness special issue.

       Since Jurek, the Texas legislature has repealed important protections against

the arbitrary infliction of death. The 1991 “Penry” amendments deleted two of the

defendant’s important protective filters present in the original special issues

upheld in Jurek: deliberation and reasonable expectation of death. The Supreme

Court has not yet addressed the important constitutional questions raised by 1) the

deletion of these elements, and 2) the steadfast refusal of the Texas courts to

define the very elastic terms used to describe “future dangerousness”.

       Jurek does not dictate the outcome of claims asserted against Texas’ post-

Penry capital sentencing scheme. The Supreme Court, in upholding the former

Texas capital sentencing process4 in Jurek, recognized several frailties inherent in


       4
        The former Texas special issue capital sentencing scheme, enacted to meet the constitutional
standard set in Furman v. Georgia, 408 U.S. 238 (1972) was found in the former Texas Code of
Criminal Procedure, Art. 37.071., which read as follows: "(1) whether the conduct of the defendant
that caused the death of the deceased was committed deliberately and with the reasonable
expectation that the death of the deceased or another would result;
 "(2) whether there is a probability that the defendant would commit criminal acts of violence that
would constitute a continuing threat to society; and "(3) if raised by the evidence, whether the
conduct of the defendant in killing the deceased was unreasonable in response to the provocation,

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it. First, the former statute did not explicitly speak of mitigating circumstances; its

constitutionality turned on whether the enumerated questions allowed

consideration of particularized mitigating factors. Second, since the Texas Court

of Criminal Appeals had yet, in 1976, to define precisely the meanings of such

terms as "criminal acts of violence" or "continuing threat to society”, the Supreme

Court looked to the Texas court’s interpretation of those phrases for assurance

that, in considering whether to impose a death sentence, the jury may be asked to

consider whatever evidence of mitigating circumstances the defense could bring

before it.

       The Jurek court could not have anticipated the great reluctance of the Texas

legislature and courts to take steps to inform capital sentencing jurors of the actual

criteria needed for them to fully perform their function. Many Texas death

sentenced individuals raised claims that the vagueness of the Texas special issues

rendered them ineffective to guide the discretion of the jury to limit the death

penalty to the worst of the worst. The Texas court rejected all such claims.5



if any, by the deceased." Art. 37.071 (b) (Supp. 1975-1976).
       5
          See King v. State, 553 S.W.2d 105 (Tex.Cr.App.1977); Sanne v. State, 609 S.W.2d 762
(Tex.Cr.App.1980); Russell v. State, 665 S.W.2d 771 (Tex. Cr. App.1983) decided under the former
statute; and Sells v. State , 2003 WL 1055328 (Tex. Crim. App. 2003); Feldman v. State, 71 S.W.3d
738, 743-45 (Tex. Crim. App. 2002), citing Ladd v. State, 3 SW 3d 547 (Tex. Crim. App. 1999)
decided under the present statute.

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Litigants pressing these claims have fared no better in the Fifth Circuit.6 Both the

Texas court and the Fifth Circuit have simply assumed that Jurek forecloses any

attack on the post-Penry Texas scheme.

       It is respectfully submitted, however, that Jurek and its progeny do not

foreclose Mr. Braziel’s argument that the process that produced the “future

dangerousness” jury finding was too unreliable to support his death sentence. It

seems elementary that a person who has committed murder under circumstances

making it capital murder, and who has done the crime deliberately, and with a

reasonable expectation that the victim would die, is very likely to be, and remain,

dangerous. Jurek could not, and did not, sanction the imposition of death on those

who did not act deliberately or without the reasonable expectation of death. The

Jurek court observed, as to all three former Texas special issues, that the issues

have a common-sense core of meaning, and that criminal juries should be capable

of understanding them. This Court need not revisit the Jurek court’s interpretation

of the former statute in Mr. Braziel’s case, tried under the revised statute. Mr.

Braziel suggests that the fair reading of the three original special issues that the

       6
         Hughes v. Johnson, 191 F.3d 607 (5th Cir.1999), citing Woods v. Johnson, 75 F.3d 1017,
1033-34 (5th Cir.1996). (noting the long line of Fifth Circuit cases holding that the terms in the
Texas punishment special issues need not be defined in the jury instructions); James v. Collins, 987
F.2d 1116, 1119-20 (5th Cir.1993) (not necessary to define "deliberately," "probability," "criminal
acts of violence," or continuing threat to society"); Nethery v. Collins, 993 F.2d 1154, 1162 (5th
Cir.1993) (not necessary to define "deliberately," "probability," or "society").

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Supreme Court expected and approved was that Texas would reserve death for

those individuals who have 1) murdered another, 2) under limited circumstances

elevating the crime to capital murder, 3) more-than-intentionally, 4) expected the

victim to die from his acts, 5) acted without justification or serious provocation, 6)

demonstrated a high probability to repeat fatal or at least serious acts of violence,

7) over enough time to conclude that 8) he or she is a more or less permanent

threat to society. Elements 3, 4, and 5 have been removed, while 6,7, and 8 have

never been adequately defined to select the worst from the worst, thus violating

the Eight and Fourteenth Amendments.

      The constitutional violations set forth in this claim alone mandate relief

from the convictions and sentence. However, even if these violations do not

mandate relief standing on their own, relief is required when this claim is

considered together with the additional constitutional errors outlined in the

remainder of this Petition. Cumulatively, these errors mandate relief from Mr.

Braziel’s conviction and sentence.


                        SEVENTH CLAIM FOR RELIEF

MR. BRAZIEL’S CONSTITUTIONAL RIGHTS WERE VIOLATED BY
THE PUNISHMENT CHARGE, WHICH REQUIRED AT LEAST TEN
"NO" VOTES FOR THE JURY TO RETURN A NEGATIVE ANSWER TO
THE FIRST SPECIAL ISSUE AND AT LEAST TEN "YES" VOTES FOR

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THE JURY TO RETURN AN AFFIRMATIVE ANSWER TO THE
MITIGATION SPECIAL ISSUE.


      This claim was presented as Point of Error Seven in the direct appeal. Brief

of Appellant at 52 et. seq. This claim was rejected in an opinion by the Texas

Court of Criminal Appeals. State v. Braziel, No. AP-74,643 at 14 (Tex. Crim.

App. Sept. 28, 2005)(unpublished). The court’s denial of this claim is both

“contrary to” and an “unreasonable application” of clearly established federal law

and based on an unreasonable determination of the facts.

      The facts in support of this claim, among others to be presented after full

investigation, discovery, access to this Court’s subpoena power, and an

evidentiary hearing, include the following:

     Point of Error Seven of his direct appeal brief to the Texas Court of Criminal

Appeals complained that Petitioner’s constitutional rights were violated by the

punishment charge, which required at least ten "no" votes for the jury to return a

negative answer to the first special issue and at least ten "yes" votes for the jury to

return an affirmative answer to the second special issue. Citing California v.

Brown, 479 U.S.538, 541(1985), Mr. Braziel argued that Article 37.071 violates

the constitution, since in order to answer Special Issue One “yes” the jury must

unanimously agree, and to answer the issue “no” ten jurors must agree. Further, in

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order to answer Special Issue Two “no” the jury must unanimously agree, and to

answer “yes” ten jurors must agree. Mr. Braziel argued that this scheme is

unconstitutional because this “12-10 rule” creates an irrational process which is

death-weighted and death-driven.

        Texas law requires that neither the court, the state, nor counsel for the

defense may inform a juror or prospective juror of the effect of the jury’s failure to

agree on special issues at punishment. TEX. CODE CRIM. PROC. ANN. art. 37.071 §

2(a)(Vernon Supp. 2002). All parties in this case acted in compliance with this

statute at Petitioner’s trial.

        Texas law also requires that the capital sentencing jury be instructed that it

may not answer the first special issue “yes” or the second special issue “no” unless

10 or more jurors agree. See TEX. CODE CRIM. PROC. ANN.art. 37.071 §§ 2(d)(2)

& 2(f)(2)(Vernon Supp. 2002).

        The “10-12 rule” contained in TEX. CODE CRIM. PROC. ANN. art 37.0717

violates the constitutional principles discussed in Mills v. Maryland, 486 U.S. 367

(1988), and McCoy v. North Carolina, 494 U.S. 294 (1990). The “10-12

provision” requires that, in order for the jury to return answers to the special issues



        7
          See Robert J. Clary, Voting for Death: Lingering Doubts About the Constitutionality of Texas' Capital
Sentencing Procedure, 19 S T . M ARY 'S L. J. 353, 358-59 (1987).

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that would result in a life sentence, (i) at least ten jurors must vote “no” in

answering the first special issue or (ii) at least ten jurors must vote “yes” in

answering the third special issue. This “10-12 provision” violates the Eighth and

Fourteenth Amendments because there is a reasonable possibility that, under the

present Texas capital sentencing scheme, all twelve jurors in a capital case could

believe that a life sentence would be appropriate under state law, but, because at

least ten jurors could not collectively agree on their answer to any one of the

special issues, the jury could not return a life sentence. Such a “majority rules”

mentality could lead jurors to change their potential holdout votes for life to a vote

for the death penalty.

      Hypothetically speaking, if all twelve members of the jury individually

agree that a mitigating factor has been established and that, under state law, a life

sentence is appropriate. That is, all twelve jurors could have believed that a

mitigating factor existed which, under state law, should have caused the capital

defendant to be sentenced to life. However, jurors are given the impression that

Texas law forbids the imposition of a death sentence only if ten members of a

capital sentencing jury agree collectively as to which statutory mitigating factor

has been established; because such jurors could disagree about which factor has

been established, however, they are left without guidance as to how to proceed. In

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the absence of such guidance, there is a constitutionally unacceptable risk that

Texas capital sentencing juries may feel coerced by a “majority rules” mentality

into returning answers to the special issues that would result in a death sentence.

A death sentence imposed by a jury so instructed is too likely a product of

arbitrary decision-making for the constitution to tolerate. See McKoy v. North

Carolina, supra; Mills v. Maryland, supra. Accordingly, Mr. Braziel’s sentence

of death must be vacated and the cause remanded for a new trial.

      The foregoing violation of Mr. Braziel’s constitutional rights constitutes

structural error and warrants the granting of this Petition without a determination

of whether the violations substantially affected or influenced the jury’s verdict.

Brecht v. Abrahamson, 507 U.S. 619, 637-38 & n.9, 113 S. Ct. 1710, 123 L. Ed.

2d 353 (1993). However, even assuming the harmless error doctrine applies to

this claim, the foregoing constitutional violations so infected the integrity of the

proceedings that the error cannot be deemed harmless. The foregoing violation of

Mr. Braziel’s rights had a substantial and injurious effect or influence on Mr.

Braziel’s convictions and sentence, rendering them fundamentally unfair and

resulting in a miscarriage of justice.

      The constitutional violations set forth in this claim alone mandate relief

from the convictions and sentence. However, even if these violations do not

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mandate relief standing on their own, relief is required when this claim is

considered together with the additional constitutional errors outlined in the

remainder of this Petition. Cumulatively, these errors mandate relief from Mr.

Braziel’s conviction and sentence.

                                      PRAYER

      For the foregoing reasons, Petitioner respectfully submits that this court

should abate the prosecution of this cause and permit Petitioner to exhaust his

Wiggins claim in the state court; grant relief and order a new trial on

guilt/innocence; or, in the alternative, grant relief and order a new trial on

punishment.


                                 Respectfully submitted,

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                                   Richard L. Wardroup
                                   SBN 20861200
                                   Attorney for Petitioner

                                 Don Vernay

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                                Fax (505)892-8119


                                By: s/ Don Vernay
                                  Don Vernay
                                  SBN 24035581
                                  Attorney for Petitioner

                         CERTIFICATE OF SERVICE

      In the 17th day of August, 2010, the forgoing Petition for Writ of Habeas

Corpus was electronically filed. A copy of this petition was mailed to Petitioner

at:   Alvin Braziel #999393
      Polunski Unit
      3872 Fm. Rd. 350 South
      Livingston, TX 77351

                                      s/ Richard L. Wardroup




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               PETITIONER'S EXHlIllT I,

            AFFlDA VIT OF GLFNDA TURNER

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            PETITIONER'S EXHIBIT 2,

       DECLARATION OF AMANDA MAXWELL

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        ~nd   hehJvioral intei'.'('l1lion, I Jill      respon~iblc {ill'      crisi, inkncillion nnd
        pr~l'cntl<ln.      needs ns,essmenl and ,;en-ice eoordmnliC\ll, i provide grief 3nd
        bereavemellt <;vllllsc!ing: brief ~()IIJIJllrt fOClised inl"rvcntioll,             ,,~   wei! as stll11'
        devd,'pmellt 1'01' cl inieian.< nul! educaloL<;, I i"",e hcen 1mined I' n 11l)[(-vio!cnt
        re,trnint tcchnique,;, l hnvc provitlcd expert witness te,tinlolly in Dlilla' C(]llnty
        Fal11ily ano;! Juveni Ic L(]lllis,
    5,	 From I'ill7.2004, I workcr. ", a medical               ,""'i" I WM~cr on conl,1cr basis for 1·1"1ll~
        Il~allh    and     1·lo~ric.t' Jgeneic~   in a six fOlIl1ty area. I prp,. idcd mcdir;a1case
        mlm>lg;cl11ent       scrv,cc~   10 chronic Jild lermin"lly ill illdrvJJuals. 1 cdlJ~<lLcd the
        palietll nTld family on di,cw;e process and tr<::'11111cnl: and providcd counseli,,", on
        lifG-'lyle   chllie~5   a"d md QClife issuc',. J eOl1duel:aJ pSl'c!l()socLal historic", nGeds
        a"cssmenls n,,<l provided scrvice coord'nation, I n\:H';led with Mcd1CJre.
        Medlc~i(l     and SSt applieal:i"". rrocess and           Jl',,~al.

    6.	 Thnw       l1~cn   asked hy I\t(omcys Dnll Vern,,)' 'Uld Ridmnl Wardroup 10 im'c,<;rigata
        Llic educatoon.l1,      psyehol()gic~L      medical, inslilulif>np:, cullural and           ~f>cial   Jrisr()ry
        of their cliclll     ~nd   client' ~ fall" Iy in ordcr to di,;cuss lhe clTcels of rhe~c factor, 0\1
        hi~   devel()p1l1ent and        l~havior,   In my im-'t'Sllgat.ion oftlw client's s()ei.11 history
        and otlier mil:iga:i "L\ f;lclors, 1wi II follow the         ,lflnd~rd     of care   I'cqllir~t!   h)' mentu I
        heallh nnJ .ncdical         prorl'~,iormls 111   1i:l1'l1l lnll" pT(, fe,siona 1 npil\ion,
    7,	 The following records \Vue reviewed In wmpletc                        Ihi~ Jilll;t~d 'llcinl hi~I()IY



              [';I>t:CATI0l\iAL HISTORV: aehicvcllknL                      pcrforln~l1ec and         bdlJvior.
    ~p"eial edtl~a(jotl needs"        "ngllitive 1imit~lion5, and      Ic~rlling di~,lbilily;

              FAMlL\' ,\1'1'0 SOCIAL HISI'ORY (i)                      rhY~lc.al,    sexual 01' emn!l<lll>ll
    abusc; (ii) prior ,'dull and j uvclli I~ records: (i; i) J'rinr eOL'r~di()nal expe,ience
    including c(](l(lucl: in the insr.il:ulimr "nd clinical >erviccs; (iv)            TC1igi<lll~   and c"lllJmi
    Innilenee.~.
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              MEDICAL RECQU\)S were requeSl<'d frolll P;lrkLlnd Mcmorial Hospital
     ~nd   never receivcd.


 Afler interviewinll Alvin' s nJ'-'lh~r, Glenda Turner and hi~ sister, Lakeci3 Imnci. ~~ wd I
 3, ~ review "flimitcd sd](lc,ll'ccords. pCI1IJ.1ckct, and TOe.! p~yeholl)gic~l 'l~'c~<;mcllt' I
 d;~col'Clcd thc following;:


 II complctc In itigation investig~tioll was never eomplelcd at the guilt Hmoccncc' plla~c of
 III\'LII '5 lri" I proceedings nor 'wns a l11iti galinn ;n""~lign1 ion com/lkwd ,11 til,' Sia I" Wri1
 kv",L FlIrllt"r,lhere wns limitcd conlact with ally 1ll~ll1b~1 [If Alvin's filmily by 1'''~vl<lU'
 eOIJlI;;d N,' medical, mcntal health, compleu, ',chonl ra..:nrd", criminal b~ckground or
 mhcr life rccords wcre ever rcqueskd or reviewed

 Alvil' was c"ro,~d h' nlcohol and mmijllalla in lIl"ro, It" pos.,ib1e thal IIlvin ~uffers
 irom fet~l Alcohol ~\'nlllo,,'e/l"('I"1 Alcnh<J1 E.'IJ<l,ULI'C. Thel'c i~ limited information On
 other 'Ub~lanCC ~hu'''' I~'>\)(" ill tire f[lmily, IIccordinlllO his mollwr and sister, IIlvio did
 11<11. experimenl Willl n"y drug.' harder lhan marijua.na, Howcver, thcy WCI'C nol in
 con slant contncl wil h ,',ill, "l1er "gc 15.

1I1vin wns hom (0 n 5"V~llken yenr (lTd who wa~ all'cady parcll!ll11;" ""~ ,,,,<1 a half year
old d~u~1l1cr. I. lis 111OlI",r IV'" unda extremc s1reS5 both riu,i,,!! and ~ner hl$ ge~l[ltion
[lml dd ivcry, After t.realmenl for brcast canccr, GTcndn d(l~s n,\l I'cfllclnbcl' the specifics
of AIvin' s labor and delivcry. She was overwhe Imed ~nd bad Ii Hk "~Slst,l"ce fTOm
falllily or fnenJ~ with her young chlld,~n

Afler her sccond chi Id, Glenda dmpr~d ont nf TlIr,h schonl thcreby 1imi lill[l hcr
0l'p<J11Ilnity for gainful cmploymeJll Ilcr erratic bchavier c~used her to T",,~ man}, jobs,

AT yin " I\lfllhcl' made frequ~nl nh w~., Iivill!J with   fricnd~   and   oec~siona lIy   fami I)' SI\('.
and Ihe rhrldren were 1l1trrnllllcLllIy horncle"

 The f"mily h"",1 in cxlrcl"c povel1y and thel'e was rarely enough rood in the               b"u,~


The dlildrc'lI \"",e ircljuenlly Icft alone unsnpelVi~('d ~ml h~d 10 fcnd for lliell1scl"c~ i[l
1,1'" rClltal hc'using ~omrlexes. They were expo~cd to n1m1l1lJnity violence and aCC<lrJIIlg
to Alvjn'~ Slst"l', [.nkeeia ··wc beard gun ~hots every l1J!;hl" "Wc always livcd in thc
back where ~par1lllenl~ were bo~rdcllup and kId" ",we (eonl'i!' up thc concrete,"

IIlvi n suffered a Irallm~l k ('min injury at f'g<o lhr,,~ y.:\, ro< Mler being bludgeoncd ovcr thc
head with n hmol11 hill1Jk by h,,, aunt, J\ Iviu lost COlI,C LOUS'ICS, fol' IIIl extended perioll
of time and was hospitnli7.ed with a TRL T·k lost dcveTopmclllal ~ki lis and had to rd"am
how to speak, walk ~nd pelforlll s,;lf care 1asks, ACLording to Alvin's mOlher "his skull
w~s split 1'1'0111 1'1'0111 10 h,ld:." i Mellical records from Parkland 11l1spi Inl arc in 1ran"iI..1
Hc reec1vcll very liule t~,II,"" lip ~~rc once he w~" relca~ed frOl1llhl' IW"l'it,ll
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 A review of 1"0 ded ~chool records reI'/:" I, ll,a! Alvin ,pent tI,'0 yeaI">' 'n fir,l grade, Bolh
 ~'cal', he receiv~J N grades in all acndclllic ~'lb.iecls. In second h'fll<k he wn~ working on
 ~r~de level. Howevcr. by fourll1 grade hi~ sl~ndardized lTB'\ ICOn:, showed tlwt he was
 ~tiJJ on a second gmde fir,t Illonlh level. Hc cOlltimlcd 10 SlnJgglc acndcmically
 throughout e1cmenla,y school nmkl11g mosl.ly r~,h II!; gr;ldcs. Alvin spent lin' )'CM~ in
 sevellth gfllde where 1T1lS ,core~ plnced him ,)0 ~ fomth grade level. 1-11-1 ';lnl1li~rdizcd
 test> score~ (TA/d) Iwd a 11IL~h of655 oul or~ possibk 1400, By ninth grade..<1111 (;lilil1g
 1110,\\ 'ubjcet." Alvin dropped 0,,1 oL~chool H~ IV1lS I<:<:eiving rell1cdinl r~odlllg ,cr.'ices,
 A! lh1.\ !"IlC In~ ~tandardi7.ed sintc c'\~'n <11, reading revenl~d a high score of I,wn <Ill! ofa
 po,sible ~400.

 Wilh frequent ~eh~ 'l11d home LlH1H'~. academieall)" Alvin ""Cd I II"O)ugh the er~eh"
 There is no indie~t"," th"l Alvin w~s tested for spoci~l ed"e'll"'" Jllhollgh il is highl)'
 po~sihle hc "lOllld h"w quali licd for ser\"ic~, w,lh ,nell a hi~tory of j ,dIme nnel acndcllllc
 struggle. lIe w"" 11.1 al"ollltc1y hnve qu~li fied a, a .1!lIdcnt wit.h "othcr hea11h imp"inncnl"
 due 1:0 hi, tralln1<1li~ hmin Injury and conlinuf,\l.\ aca<l"mie failure.

 AIV;ll m,:i I", ,i Mer were frC'lllclltly "farmcd 0\11" hJ their h,.,.e~1 a\llll, Anllcl In Vmmer.
 WI" It sl\c didn'l w~nt. them 111 her home. she tolera!cd l1KIn .~ Ivi11 ilnd hi~ .~J ..;lc'r knew
 lhev were not waillcd by anyone illduding thcir aunt and lh~lr Ill<llhcr. They had n"
 COLllaCl wi til their hiologie~ I f:uher,; '1 'hey tricd to beculnc ;Jlv,,;ihJe.

 Glenda Turncr Imd "'lIl'~rn,,<; boyfriend<; ill and oul Ollhe chi Idren' ~ Ii ve~. Sh~. allowed
 the~e men 10 verhEllly and phy~icnlly ab'''e her amI her children Glenda felt like .\II~ had
 to have a Imn;/I h~r I,fe to hclp ~llpporf her nnd hcr children, lrwh~t~v~r nl.1'; ~he was
 with wanted h~r 10 have his bahy, she compil~d At this point she hod llnee c11ildren with
 threr diflerelll fathcr~,

 I-\/h~~ Alvin wns cleven yenr, "IJ.lus mother marricd Jimmy Lang.               Jimmy liked lo
 [lfC;\~h the go~pcl, dl'c,s lik~ ,'i gang.l!er, call himsclfVilc> Condone      and abuse h,~ ,Ie)'
 childml1 Whell Glellda ~:\\-~ binl'lo .lill1my'~ daughter" Alvin, Lahciil :lnd Kcnmnd
 were inforLned in Ill' 'o'ncel'laillt<:nns thal the 11'.'O lillie girls wcre more imp0l1al11lhm,
 1:h~y
     . wel'~ "'l1mv. '''ade i! clear th~t th l' 1>\'0 01derchildrcn Iwre lo cater!o thei' new
 sistcr~, They lwilo eh,mgc and w~sh lh l · ~lol!\ di~pers Jimmy il1si~ted on


 Whcn AI\,," w,l~ n fken, trying 10 defcnd IllS Inolher, he and .I ill1ll1y I.>lltg engnged in a
 phy,<lcal hmwl, Alvi" wa,~ fed IlP with ,ecir\g hi~ step fa!herb~"l lln Ill, mot.her, Alvin
 d~le"nined thai evell i r h" mol11"r WOlJ Id nnt def~l1d herse1 f, hc would d..' !Cnd her. After
 1111.1 a1terc~tion, Alvin moveu <>ul of his nlOlher's h"me. 1k (,ved 011 1:h~ ,1:",<'1,<; swying al
 Cri~l1d'~ hOI11~s, sheJkr~ M\d whcr~vel' he COil ld find lollglng: Ae~ordi ng to h" ~IS!cr,
 Lnke~i~, "we never kn",1' Il'h.::r" he would he"


 There wa~ never ~l1y affection for Alvin and L~keei~ frolll lheir mother or nllV olha
 family ll1emh<;1 They felt unloved and unwanted, On one ooc",iem GlclJdn Turner
 aehwlJy ki:<-,~<111er childr~n on the check. A<:enrdil\£l1O I ,akc~,~, they were ~<l shocked
 "W~ Ihougl1t ,he was hav;llg one "fh", ~pisodes."
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 There i, a strong 11i51O"· n r 1)1~lcrnal ,<;I1I f"phreni~ and bip"lnr disorders. AI vi n '~ mother
 ~nd brOlhcr Kennard nr~ Lurrcnl1y receiving medical trealm~n[ f",- .<clliwphr~l1la, There
 arc report, nf <'chizophrclll:l nnd hi-polm disorders in AlviII' s m~ lernal grandmother,
 alLnt~ and I," I f ~J bling~, Aivi n' s sister LakLci~ ,usp"ds I.hnr II~r ~OI1 lJ1(ly have 011(; of
 lhes" di';<lrdcr, It is possihk if not probnbk lI'nt Alvin also slJITer~ from sc11imphrcllja
 ur bipolar disorder.

 CllrTcnlly, Alvin   r~fu~C'.<' ill I WI ill~1I   and   phy~ieal   COlltnct fmm   hi~ [11ml y,


 I, Am"ml" S. Ma\wcll, LCS\Y, d.,dare under the flcnalty of per,jllry, and by tb~ In\\'
 I,f the Stale of Tc:.<'l1/, that thc forgoinl,: slatem('111 i~ tl'ue nnd COlTC~t to the hesl "f
 ~I.   lU1owkdg~ nod      helief.

(                 OJ f-tl., U 0l!.-\                                    Dnlc
 Al ~ IIH .".    ll.\\vdl.l,ckw
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             PETITIONER'S EXHIBIT 3,

         AFFIDAVIT OF RICHARD FRANKLIN

FROM :   FRi1Nl(Ll~1                                     f',">( NO,   : 97263382::'5
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            COUNTY OF DAT.LAS
            STATE OF TEXAS

              BEFORE ME, the unrl~r"igneJ official, on tl1;s day app"r>T~d Richard K. FT'mklin, who is
           personally kno\vt1 t(\ me, ann fil'Sl bein~. duly sworn aeconi,:"G lo law upon llis onth. dcPO~fd nlld
           soid a~ ["Ilows:                                                                        .

            "My name, is Pjdwrd K. Frank li[1, I mn OWl' 18 yearn of age. tmd 1 ;:un fully cDlllpelent to

           m3ke this ~mdavit. 1 have personal knowlcdj:e oftl1C fact~ ~.l"l",d herein, ami they arc all In'"

           and COfrce,


              I ,1m currently ~ aiminal d~fel1~" lawyef in prlVilf<' practice. 1 WHS app"inkd, Jifmg with Rir-k
           Harr;301' to represent Alvin Brnz;d charged wj[h capitnl n:'lIlrd"r. D,e Stnl~ SC>lIf,ht alld obtllin~d
           the death permlty.

               Tl1is is the   8~~()lld affidavit.   J hnv~ provided in Ihis case.      Th~ i;;~"e
                                                                                            continues 1'0 be whether
           HI,' State tnrned DW.c to the DcfL"nse c.crUUn sUJ'pJcmentnl repo:rr.~ from the Defenc1Ant's prim'
           conviction for sexu",l nsollull. The answel is a~d alway, h"" "een no, jh~ St'le did not. The
           supplement,,1 report~ w('u[d have re.v.,._~l cJ thnt tlle com!,I!l..ltt:ng wilnc.', h~d reeantcJ the
           u1Jer;nlionlhnl a glm '\':1:< 'l~ed in th~ "ff"n8e.

              The State contends jhat fo"'r boxes of Joeumm\lS, wllich alk~"dly contllincd the g\1pp)~menlal
           reports. ",~.-c pl'ovi.-led to H~ 10 insp~~t. Th~ rloc\un<m", we·c~ not th~r~ Dr (h,,:I-' wGre remo""rl.
           We kn~w Ihat hccaus~ the State kept rontending u gun W"~ used. TI,e Stnte wonld "O[ hnve done
           w hnd it sll<pceted we wonld haw IIUOlmatioll 10 the "ontrary.
               Tn the puni ~hment phase <:Jf the tdal in ~ hench c",rllereTl<'G, GeoIge West, representing !l,e
          State, ,,1,1ted to Ihe Pt<'"kfing .JLldge th"\ WE would be Julslearling th~ jUr)' ifw" put OIT lhe
          dcfrr1~~ lmvyer. who h~rl repre.~l]ted the Deff'Odanl in tLtc prior' otf~n,~, In testi fy ih"r" wa~ n"
          ;-,lll invol'v~d in tile offense. He ((lId the .Tudr.e that the C(lmpl"ining WilnR~~ w~s going to t"~lifv.
          Snbsequcnt1y, t.he eomplainrn3 "'~In"'-" did -"et l.,)stifY.

              Til" State nev~r cOfl:ecwd whol it kn,"" was not [me. In fac.t, lhe State arr;<led ('VOl' and over
          that it ,,'as eorree) tlbOlll th~ gun, while knowing the emire time il waS wrong. The State tl>;~l~d
          the jury, Ilot. llw DefcITl'c."




                                                                                                                       <,,;;3-001
FROl1                                 FAX 110.   : 9n';';.38236                 AlI~. 'Jg   20lIJ 04:52prl   P2
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        51 TBSCRIBEl) AND SWOfu'< TO DEfORD )dE, on the     _1    <lay of Aur:\l~t. 2010. 10 CI'-rlil\'
        whi~h witnes$ my h3ml amI offici~1 sc~1.
